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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

MELANIE NICOLE MOORE,

        Plaintiff,

v.                                                   Case No: 8:20-cv-2184-MSS-SPF

POOCHES OF LARGO, INC. and
LUIS MARQUEZ,

        Defendants.


                                           ORDER

        THIS CAUSE comes before the Court for consideration sua sponte. This matter

is currently set for the July 2023 Trial Term. (Dkt. 76) Due to the Court’s current trial

schedule, the Court finds it necessary to continue this matter to the August 2023 Trial

Term.

        Accordingly, it is ORDERED that this case is CONTINUED to the AUGUST

2023 TRIAL TERM, which commences on July 31, 2023, with a more precise trial

date to follow. The Court will contact the parties for a telephonic or Zoom status

conference ahead of the August Trial Term. If the parties wish to proceed to trial prior

to the August 2023 Trial Term, the parties may consider consent to resolution of this

action by the Magistrate Judge. Should the parties consent to the Magistrate Judge’s

jurisdiction, they must file a completed Form AO 85 which can be found on the Court's

website at https://www.flmd.uscourts.gov/forms/all.
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      DONE and ORDERED in Tampa, Florida, this 29th day of June 2023.




Copies furnished to:
Counsel of Record




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